      CASE 0:13-cv-03451-SRN-HB Document 1015 Filed 10/20/15 Page 1 of 1




             quinn emanuel            trial lawyers | los angeles
             865 South Figueroa Street, 10th Floor, Los Angeles, California 90017-2543 | TEL (213) 443-3000 FAX (213) 443-3100




                                                                                             WRITER’S DIRECT DIAL
                                                                                                   (213) 443-3206

                                                                                        WRITER’S EMAIL ADDRESS
                                                                             daniellegilmore@quinnemanuel.com



October 20, 2015


VIA ECF


Honorable Susan Richard Nelson                                 Hon. Hildy Bowbeer
United States District Court Judge                             United States Magistrate Judge
District of Minnesota                                          District of Minnesota
774 Federal Building                                           632 Federal Building
316 N. Robert Street                                           316 N. Robert Street
St. Paul, MN 55101                                             St. Paul, MN 55101

Re:    In Re RFC and ResCap Liquidating Trust Litigation, No. 13-cv-3451 (SRN/JJK/HB)

Your Honors:

We write on behalf of the parties with an update regarding Joint Agenda item 3(b)—Deposition
Protocol (ECF No. 981). As identified on the Joint Agenda, the parties had intended to submit a
finalized Joint Deposition Protocol today. The parties have been diligently meeting and
conferring to that end and have reached agreement or near-agreement on many provisions of the
protocol. However, the parties have not reached agreement on a handful of provisions due to
outstanding disputes that are set forth in the parties’ letter submissions, (see ECF Nos. 971, 973).
Resolution by the Court of these disputed deposition issues should narrow or resolve the
outstanding disputes regarding the Joint Deposition Protocol. The parties believe they can reach
agreement and submit a Joint Deposition Protocol by no later than October 30, 2015. The parties
are prepared to discuss this issue at the October 22, 2015 status conference.

Respectfully submitted,

/s/Danielle L. Gilmore

Danielle L. Gilmore
